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                                                                 liable as an “employer” within the meaning of     29 U.S.C.
                 2014 WL 12526724                                § 203(d); and (3) whether, as a matter of law, the Plaintiffs
    Only the Westlaw citation is currently available.
                                                                 are entitled to recover liquidated damages under 29 U.S.C.
             United States District Court,
                                                                 § 216(b) if and to the extent the Defendants are found to be
          W.D. Tennessee, Eastern Division.
                                                                 in violation of the Act. (D.E. 52.) Defendants have filed a
          Randall Hollis & Steven Eberline on                    response. (D.E. 65.)
           behalf of themselves and all other
        similarly situated employees, Plaintiffs,
                            v.                                                 I. FACTUAL BACKGROUND 1
              Dump Cable, Inc. & Raghid
              Baker Ardahji, Defendants.                         Dump Cable, Inc. (“Dump Cable” or “the Company”) is a
                                                                 Tennessee corporation that sells, installs, and repairs Dish
                No. 1:13-cv-01077-JDB-egb                        Network satellite television services in Tennessee, northern
                             |                                   Georgia, northern Mississippi, and eastern Arkansas. (Pls.'
                    Signed 06/23/2014                            Stmt. of Material Facts ¶¶ 2–6, D.E. 52-1.) Ardahji, as sole
                                                                 shareholder and Chief Marketing Officer of Dump Cable,
Attorneys and Law Firms                                          is ultimately responsible for all decisions made within the
                                                                 Company. (Id. ¶¶ 3–4.) Eighty-five percent of Dump Cable's
Chad Alan Naffziger, Law Office of Chad A. Naffziger,
                                                                 revenue is derived from residential Dish Network installation,
Jackson, TN, Clinton H. Scott, Gilbert Russell McWherter
                                                                 repair, and upgrade work, for which it is paid either directly
PLC, Brentwood, TN, Emily S. Emmons, Michael L.
                                                                 by Dish Network or through a regional service provider,
Russell, Kara Beth Huffstutter, Gilbert Russell McWherter
                                                                 depending on the geographic region. (Id. ¶¶ 6–7.) For the past
Scott Bobbitt PLC, Franklin, TN, Janelle Crandall Osowski,
                                                                 five years, this work has been Dump Cable's core business,
William B. Ryan, Donati Law Firm, LLP, Memphis, TN, for
                                                                 but during that time the Company has also engaged to a
Plaintiffs.
                                                                 lesser extent in the retail sale of remote controls, home theater
                                                                 systems, surge protectors, wiring and accessories, and “direct
                                                                 sales” of DirecTV, another satellite provider. (Id. ¶¶ 5, 7.)
     ORDER GRANTING IN PART PLAINTIFFS'
   MOTION FOR PARTIAL SUMMARY JUDGMENT                            *2 Ardahji and Dump Cable cover all of the overhead
    AND HOLDING IN ABEYANCE THE MATTER                           expenses involved in operating the Company, including
     OF DEFENDANT, ARDAHJI'S PERSONAL                            investment in Dish Network equipment, operation of the
       LIABILITY UNTIL THE AUTOMATIC                             retail store, employment of office staff, and operation of a
     BANKRUPTCY STAY HAS BEEN LIFTED                             call center. (Id. ¶ 8.) Dump Cable provides its customers
                                                                 with a ninety-day warranty guaranteeing the quality of
J. DANIEL BREEN, CHIEF UNITED STATES DISTRICT
                                                                 every installation or repair job, which work is performed
JUDGE
                                                                 exclusively by installers/technicians, such as Plaintiffs, who
*1 On March 1, 2013, Plaintiffs, Randall Hollis and Steven       are hired by Dump Cable and classified as “independent
Eberline, initiated this action under the Fair Labor Standards   contractors.” (Id. ¶¶ 8–9.) The Company pays these installers
                                                                 on a “piece rate basis,” i.e. a set rate for each job performed
Act,     29 U.S.C. §§ 201 et seq. (the “FLSA”), on behalf
                                                                 regardless of how long it takes to complete and, as such,
of themselves and similarly situated employees who were
                                                                 without relation to how many hours the installer works per
allegedly denied overtime compensation by the Defendants,
                                                                 week. (Id. ¶ 9.) Installers did not have the ability to negotiate
Dump Cable, Inc. and Raghid Baker Ardahji. Before the
                                                                 their piece rates, and any increase was at the discretion of the
Court is the Plaintiffs' motion for partial summary judgment,
                                                                 Company. (Id. ¶ 24.)
pursuant to Rule 56 of the Federal Rules of Civil Procedure,
on three issues: (1) whether they were properly classified as
                                                                 Dump Cable did not require the installers it hired during
independent contractors not covered by the FLSA's overtime
                                                                 the relevant time period to have any prior experience
provisions; (2) whether Ardahji can be held individually
                                                                 installing satellite television services, but its general



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advertisements soliciting new installers typically emphasized
such experience was preferred. (Id. ¶ 10; Raghid Baker                Installers/technicians were prohibited from performing jobs
Ardahji Dep. 150:13–16, D.E. 52-3.) At his deposition,                for any other company while working for Dump Cable. (Id.
Ardahji conceded that the experience levels of the installers         ¶ 27.) Regardless, according to Eberline, he and other Dump
the Company hired “range[d] from the most seasoned                    Cable installers maintained full schedules with the Company
[twenty]-year veteran all the way to people like [Plaintiff]          and for that reason would not have had the time to perform
Hollis who were willing to do their own training.” (Ardahji           jobs for another company. (Eberline Dep. 18:12–18, D.E.
Dep. 148:22–149:5, D.E. 52-3.)                                        52-6.) He estimates that he regularly worked ten to thirteen
                                                                      hours per day, and he was consistently scheduled for jobs
Dump Cable did not provide any formal training to its                 six days a week, Monday through Saturday. (Pls.' Stmt. of
installers, but before they were assigned their own jobs by           Material Facts ¶ 18, D.E. 52-1.) Hollis worked on average ten
the Company, the new hires participated in “ride alongs”              to twelve hours per day, fifty to sixty hours per week. (Id.)
with senior installers, during which they observed various            Installer Jeff Laney was assigned jobs six days per week. (Id.)
installation jobs and service calls. (Pls.' Stmt. of Material         If an installer desired to take a day off, he was required to
Facts ¶ 11, D.E. 52-1.) After Eberline was hired by Dump              provide two weeks' advance notice to his supervisor, who then
Cable, he completed a three-day ride along with installer Jeff        had the discretion whether to grant the request. (Id. ¶ 19.)
Laney. (Id.) Hollis, who had no prior installation experience
when he joined the Company, accompanied installer Dale                 *3 Dump Cable had invested “hundreds of thousands”
Oshbocker for two to three days and Jeff Laney for                    of dollars in Dish Network equipment, including products,
approximately one and one-half weeks. (Id.) According to              receivers, dishes, and any Internet-related combining
both Eberline and Hollis, these ride alongs constituted on-the-       products, which it provided to its installers. (Id. ¶ 29.) The
job “training.” (Steven Andrew Eberline Dep. 23:9–13, D.E.            installers, however, were responsible for supplying their own
52-6.; Randall Hollis Dep. 30:20–25, D.E. 52-5.)                      tools and utilizing their own vehicles when performing jobs
                                                                      for the Company. (Id. ¶¶ 25, 30.) Dump Cable required
Since April or May 2011, Dump Cable has utilized an online            installers to use only certain preapproved tools and parts.
system called ETA Direct to schedule and route installation           (Id. ¶ 30.) Dish Network and Dump Cable suggested that
and service jobs for its installers. (Pls.' Stmt. of Material Facts   installers drive a white vehicle, on which they were required
¶ 13, D.E. 52-1.) Dish Network assigns jobs to Dump Cable,            to place a magnet that read “Sharp Electronics 2 , certified
whose field service managers—independent contractors who              technician.” (Id. _¶ 25.) Installers were required to wear a
perform installations and act as supervisors to installers/           uniform consisting of a red “Sharp Electronics Dish Network”
technicians—then assign the jobs to installers/technicians            shirt, khaki pants, and, in the winter, a jacket with the Sharp
through ETA Direct. (Id. ¶¶ 12, 14.) Dish Network schedules           Electronics logo. (Id. ¶ 26.)
jobs in two general time slots: “a.m.” (between 8:00 a.m. and
12:00 p.m.) and “p.m.” (from 12:00 p.m. to 5:00 p.m.). (Id.           Installers/technicians did not engage in any marketing or
¶ 15.) “A.m.” jobs could only be performed in the morning,            advertising on their own behalves and did not hold themselves
while jobs in the “p.m.” time slot were to be completed in            out as independent installation companies. (Id. ¶ 31.) At
the afternoon. (Id.) Installers were not at liberty to reorganize     all times, the installers represented Dump Cable. (Id.) They
the order of jobs within each time slot unless they first             were not permitted to “upsell” customers for additional
received permission from a supervisor and, through one of the         Dish Network services, nor to offer or provide services to
Company's dispatchers, obtained the customer's consent. (Id.;         customers in addition to the explicit specifications of the
Eberline Dep. 36: 7–18, D.E. 52-6.)                                   work order. (Id. ¶ 28.) Additionally, per company policy, the
                                                                      installers could not charge for any custom labor performed on
Typically, jobs were assigned within a seventy-five-mile              installation jobs. (Id.) They also were not allowed to hire help
radius of an installer's home, but at times field service             or assistance on jobs. (Id. ¶ 32.)
managers assigned them outside that radius. (Pls.' Stmt. of
Material Facts ¶ 17, D.E. 52-1.) Installers did not have the          Dish Network employs a quality assurance inspector to
ability to refuse assignments or to choose which work orders          examine installers' work. (Id. ¶ 22.) When installers failed
they wanted to complete. (Id. ¶ 16.) If an installer turned down      the quality inspection for using nonapproved accessories or
a job, he would not be routed to any future ones. (Id.)               parts, Dump Cable issued them a financial penalty known



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as a “charge back.” (Id.) The amount of a charge back had
no relation to the damage caused by the installer's use of
                                                                                        II. STANDARD OF REVIEW
a nonapproved material. (Id.) When, as regularly happened,
an installer contested a charge back, Ardahji would decide            *4 Rule 56 provides that a court “shall grant summary
whether or not to reverse it. (Id.)                                  judgment if the movant shows that there is no genuine dispute
                                                                     as to any material fact and the movant is entitled to judgment
Furthermore, Ardahji had always himself maintained control
                                                                     as a matter of law.” Fed. R. Civ. P. 56(a); see    Celotex
over the quality of work the Company's installers performed.
                                                                     Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 2552,
(Id. ¶ 20.) The Company provided its installers with a one-
page, front and back, laminated “job aid,” which set forth           91 L.Ed. 2d 265 (1986); Canderm Pharmacal, Ltd. v. Elder
its proper installation procedures. (Id. ¶ 21.) Installers were      Pharm., Inc., 862 F.2d 597, 601 (6th Cir. 1988). A dispute
required to follow Dump Cable's procedures, and if an                about a material fact is genuine only if “a reasonable jury
installer were to deviate from these specifications, he would
                                                                     could return a verdict for the nonmoving party.” Anderson
be issued a charge back. (Id. ¶ 23.)
                                                                     v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91
                                                                     L.Ed. 2d 202 (1986). Once the moving party satisfies its initial
Ardahji was the sole decision maker regarding whether
                                                                     burden, “the opposing party must go beyond the contents of its
to classify the installers as employees or independent
                                                                     pleadings to set forth specific facts that indicate the existence
contractors. (Id. ¶ 33.) He testified that he chose to classify
                                                                     of an issue to be litigated.” Slusher v. Carson, 540 F.3d,
installers/technicians as independent contractors because, in
                                                                     449, 453 (6th Cir. 2008). In reviewing a motion for summary
his experience, this was the standard practice across the
                                                                     judgment, the court must view the evidence “in the light most
industry. (Id. ¶ 34.) When he was starting the Company,
                                                                     favorable to the nonmoving party, and draw all reasonable
Ardahji informed his accountant he would be treating his
                                                                     inferences in that party's favor.” Smith v. Perkins Bd. of Educ.,
installers as independent contractors, and, in turn, she advised
                                                                     708 F.3d 821, 825 (6th Cir. 2013)(quoting Slusher, 540 F.3d
him to issue IRS 1099 forms to them. (Ardahji Dep. 92:19–
93:7, D.E. 52-3.) He never sought specific legal or accounting       at 453); see    Matsushita Elec. Indus. Co. v. Zenith Radio
advice as to whether he was complying with all federal wage          Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356, 89 L.Ed. 2d
and hour laws with respect to paying Dump Cable's installers.        538 (1986). Thus, summary judgment is warranted, following
(Pls.' Stmt. of Material Facts ¶ 36, D.E. 52-1.)                     discovery and proper motion, against a party who fails to
                                                                     make a sufficient showing to demonstrate the existence of an
Neither Ardahji nor Dump Cable ever recorded the actual time         element essential to her case and on which she will bear the
worked by installers/technicians, and although ETA Direct            burden at trial.     Celotex, 477 U.S. at 322–23, 106 S. Ct. at
provided the routes for jobs, it did not track actual time spent     2552.
driving to each particular location. (Id. ¶¶ 37–38.)
                                                                     Conversely, “ ‘where the moving party has the burden [of
On a typical work day, installers would check around 6:45            persuasion at trial]—the plaintiff on a claim for relief or the
a.m. the ETA Direct website, where the jobs for the installer's      defendant on an affirmative defense—his showing must be
route for that day would be posted. (Id. ¶ 38.) Installers were      sufficient for the court to hold that no reasonable trier of fact
required to be at their first job by 8:00 a.m. (Id.) A new install   could find other than for the moving party.’ ” Epperson v.
job could take between one and five hours, depending on              Res. Healthcare of Am., Inc., ___ Fed.Appx. ____, 2014 WL
the house's construction and wiring and whether the job was          2056464, at *5 (6th Cir. May 20, 2014) (alteration omitted)
located in a rural area. (Id. ¶ 39.) “Trouble calls” required
anywhere from forty-five minutes to a few hours, depending           (quoting     Calderone v. United States, 799 F.2d 254, 259
on the particular problem. (Id.) On upgrades, installers usually     (6th Cir. 1986)). As the United States Supreme Court has
spent one to two hours per job, but, depending on the age            stated, “[s]ummary judgment in favor of the party with the
of the home, the wiring, and the customer, these tasks could         burden of persuasion ... is inappropriate when the evidence
require up to five hours to complete. (Id.)                          is susceptible of different interpretations or inferences by the
                                                                     trier of fact.”    Hunt v. Cromartie, 526 U.S. 541, 553 (1999).




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                                                                  omitted). The following six factors guide that inquiry: “1) the
                                                                  permanency of the relationship between the parties; 2) the
                       III. ANALYSIS
                                                                  degree of skill required for the rendering of the services; 3) the
A. Classification of Plaintiffs as Independent Contractors vs.    worker's investment in equipment or materials for the task;
Employees                                                         4) the worker's opportunity for profit or loss, depending upon
In an action to recover unpaid overtime compensation under        his skill; ... 5) the degree of the alleged employer's right to
the FLSA, the plaintiff bears an initial burden to prove, inter   control the manner in which the work is performed;” and 6)
alia, the existence of an employer-employee relationship.         “whether the service rendered is an integral part of the alleged
Kowalski v. Kowalski Heat Treating, Co., 920 F. Supp. 799,        employer's business.”    Donovan, 736 F.2d at 1117 & n.5.
806 (N.D. Ohio 1996); accord         Benshoff v. City of Va.      The Court will address each of these factors in turn, below.
Beach, 180 F.3d 136, 140 (4th Cir. 1999). Plaintiffs seek
partial summary judgment on that matter, arguing that, as a
                                                                    1. Permanency of the relationship
matter of law, they were incorrectly classified as independent
                                                                  This first factor requires the Court to consider the substance
contractors and were instead employees of Dump Cable,
                                                                  and permanence of the working relationship between Dump
entitled to overtime wages. (Mem. in Supp. of Pls.' Mot. for
Summ. J. 3–12, D.E. 52-2.)                                        Cable and the Plaintiffs. See     Schultz v. Capital Int'l
                                                                  Sec., Inc., 466 F.3d 298, 306 (4th Cir. 2006). “The more
The FLSA defines the terms “employee” and “employ” in             permanent the relationship” and the greater the exclusivity
                                                                  of the relationship, “the more likely the worker is to be
“exceedingly broad” terms. See      Tony & Susan Alamo
Found. v. Sec'y of Labor, 471 U.S. 290, 295 (1985). Under         an employee.” Scruggs v. Skylink Ltd., No. 3:10-0789,
the Act, an “employee” is “any individual employed by an          2011 WL 6026152, at *7 (S.D.W. Va. Dec. 2, 2011)

employer.”      29 U.S.C. § 203(e)(1). The statute further        (quoting    Schultz, 466 F.3d at 306)(internal quotation
provides that to “ ‘[e]mploy’ includes to suffer or permit to     marks omitted).

work.”     Id. § 203(g).
                                                                  In this case, Plaintiffs were prohibited from performing
                                                                  jobs for any other installation company while working for
The existence or not of an employment relationship in any
                                                                  Dump Cable. The routes they were assigned by the Company
given case “is not fixed by labels that parties may attach
                                                                  required full workdays, starting at 8:00 a.m. each morning, six
to their relationship nor by common law categories nor
                                                                  days a week, to complete. This sort of exclusivity is indicative
by classifications under other statutes.”      Powell v. U.S.     of the existence of an employer-employee relationship. See
Cartridge Co., 339 U.S. 497, 528 (1950). “Rather, it is the
                                                                     Parrilla v. Allcom Constr. & Installation Servs., LLC, No.
‘economic reality’ of the relationship between parties that
                                                                  6:08-cv-1967-Orl-31GJK, 2009 WL 2868432, at *5 (M.D.
determines whether their relationship is one of employment or
                                                                  Fla. Aug. 31, 2009)(finding a “high degree of permanence
something else.”     Solis v. Laurelbrook Sanitarium & Sch.,      in Plaintiff's relationship with Defendant” where “Plaintiff
Inc., 642 F.3d 518, 523 (6th Cir. 2011)(quoting Alamo, 471        was not permitted to provide cable installation services for
U.S. at 301), reh'g & reh'g en banc denied (July 6, 2011). “      any other cable installation company while [h]e worked for
‘The issue of the employment relationship does not lend itself    Defendant” and “was expected to show up at Defendant's
to a precise test, but is to be determined on a case-by-case      office each morning, six days a week, and was given work
basis upon the circumstances of the whole business activity.’     orders that typically amounted to a full day's worth of work”);

” Id. (quoting     Donovan v. Brandel, 736 F.2d 1114, 1116        cf.    Freund v. Hi-Tech Satellite, Inc., 185 Fed.Appx. 782,
(6th Cir. 1984), reh'g denied (June 15, 1984)).                   784 (11th Cir. 2006)(noting, with approval, that the district
                                                                  court had found that the working relationship was “not one
 *5 In determining whether an individual is an employee or        with a significant degree of permanence” because the plaintiff
an independent contractor, “courts have focused on whether,       was free to perform jobs for other installation companies and
as a matter of economic reality, the worker is economically       could accept as few or as many jobs as he wished), reh'g &
dependent upon the alleged employer or is instead in business     reh'g en banc denied (July 26, 2006).
for himself.” Id. (citation and internal quotation marks


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Additionally, the contract entered into between Dump Cable            2009 WL 2868432 at *5 (“Plaintiff's work did not require
and the installers provided that the Plaintiffs were hired for        the application of particularly special, or difficult to acquire,
an indefinite period of time, with either party having the            skills” where the “skills could be acquired in as little as two
option to terminate “for any reason” upon thirty days' notice.        weeks of on-the-job training” and “Defendant often assigned
(See Agreement ¶ 1, D.E. 52-4.) This, being “similar to an            experienced technicians to work with new technicians for
                                                                      a one or two week period in order to get new technicians
at-will employment arrangement,” see       Solis v. Cascom,
Inc., No. 3:09-cv-257, 2011 WL 10501391, at *6 (S.D. Ohio             up to speed”); cf.       Scantland v. Jeffry Knight, Inc., 721
Sept. 21, 2011), also points toward a finding that Plaintiffs         F.3d 1308, 1318 (11th Cir. 2013)(“The meaningfulness of
                                                                      [plaintiffs'] skill as indicating that [they] were in business
were employees. Cf.       Cascom, 2011 WL 10501391 at
                                                                      for themselves or economically independent ... is undermined
*6 (concluding that permanence factor weighed in favor of
                                                                      by the fact that [defendant] provided most technicians with
employee status where installers worked for an indefinite time
                                                                      their skills.”). This Court agrees with the reasoning of these
period, until they quit or were terminated); Keeton v. Time           cases and concludes that Plaintiffs' dependence upon Dump
Warner Cable, Inc., No. 2:09-CV-1085, 2011 WL 2618926, at             Cable to equip them with the skills necessary for their jobs
*4 (S.D. Ohio July 1, 2011)(recognizing, as indicative of the         is incompatible with a position that the installers were in
existence of an employment relationship, the fact that “none          business for themselves. As such, this factor weighs in favor
of the Plaintiffs had a specified termination date when they          of finding that Plaintiffs were employees.
would stop performing ... installations” for the defendant-
company). Given these facts, this factor strongly supports a
finding that the installers were in an employment relationship           3. Worker's investment in equipment or materials
with Dump Cable.                                                      The Plaintiffs here were responsible for providing their
                                                                      own vehicles and tools for use in performing installation
                                                                      assignments, and they were required to procure their own
  2. Degree of skill required                                         liability, worker's compensation, and occupational disease
 *6 Under this factor, “[a] finding of unique or distinctive          insurance policies (see Agreement ¶ 11, D.E. 52-4.)
skills weighs in favor of independent contractor status.”             These facts are “indicative of at least some ‘economic
   Keller v. Miri Microsystems, LLC, No. 12-15492, 2014               independence.’ ”       Bennett v. Unitek Global Servs., LLC,
WL 1118446, at *6 (E.D. Mich. Mar. 20, 2014)(citation and             No. 10 C 4968, 2013 WL 4804841, at *9 (N.D. Ill.
internal quotation marks omitted). The skill required of the          Sept. 9, 2013). However, the Plaintiffs' outlay was not a
worker must be evaluated “with reference to the task being            significant capital investment when considered in relation to
performed pursuant to the contract.” Donovan, 736 F.2d at             the “hundreds of thousands” of dollars Defendant invested
1118. Some courts have found that the tasks performed by a            in the equipment necessary for installations. Cf. Cascom,
cable or satellite installer require “specialized” or “technical”     2011 WL 10501391 at *6 (“[I]nstallers' investment [in tools
skill, akin to carpentry or electrical work. See, e.g.,    Keller,    and use of personal vehicle to perform installations] was
                                                                      on the low end of what would be needed to start an
2014 WL 1118446 at *6;          Scruggs, 2011 WL 6026152 at
*7.                                                                   independent business.”); Parrilla, 2009 WL 2868432 at *4
                                                                      (the plaintiff's “relative investment ... was small” where the
Other courts, however, have concluded that where, as here, a          cost of tools that plaintiff provided, which were necessary
company hires installers with no prior experience and allows          to perform installations, was less than $1000 and, although
them to learn the necessary skills in just a few weeks of             plaintiff had to supply a vehicle, he used his own personal
on-the-job training, the skills involved must necessarily be          one; defendant “provided the actual cable, cable modems,
                                                                      digital video records, and other material inputs required for
fairly simple. See      Cascom, 2011 WL 10501391 at *6                the installations”). The Court finds this factor to be neutral.
(“Several workers had no experience even remotely related
to cable installation prior to beginning with [Defendant] ...
[T]he skills involved were simple enough to be learned by              4. Worker's opportunity for profit or loss
a few weeks of on-the-job training.” (alteration in original)         *7 “The extent to which an individual is able to ‘generate
                                                                      more money based on skill and hard work’ may tend
(citation and internal quotation marks omitted));         Parrilla,


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to establish independent contractor status.”           Scruggs,     Id. at *4 (footnote omitted). Here, too, “[P]laintiffs'
2011 WL 6026152 at *6 (quoting        Herman v. Mid-Atl.            opportunity for profit or loss depended more upon [Dump
Installation Servs., Inc., 164 F. Supp. 2d 667, 674 (D.             Cable's] provision of work orders and technicians' own
                                                                    technical skill and efficiency than their managerial skill.”
Md. 2000), aff'd sub nom     Chao v. Mid-Atl. Installation
Servs., Inc., 16 Fed.Appx. 104 (4th Cir. 2001)). Plaintiffs'           Scantland, 721 F.3d at 1316. As the Eleventh Circuit noted
compensation system in this case is virtually identical to          under similar facts in   Scantland v. Jeffry Knight, Inc., 721
that in     Parrilla v. Allcom Construction & Installation          F. 3d 1308 (11th Cir. 2013),
Services, LLC, No. 6:08-cv-1967-Orl-31GJK, 2009 WL
                                                                      [a]n individual's ability to earn more by being more
2868432 (M.D. Fl. Aug. 31, 2009), about which the court
                                                                      technically proficient is unrelated to an individual's ability
there stated:
                                                                      to earn or lose profit via his managerial skill, and it does not
  Because Plaintiff was paid on a piece work basis, Plaintiff's       indicate that he operates his own business. As the Supreme
  opportunity for profit or loss was, in a simplistic sense,          Court has explained, a job whose profits are based on
  a function of the number of jobs he could complete in a             efficiency is “more like piecework than an enterprise that
  finite time frame. Excluding charge-backs, the more jobs            actually depend[s] for success upon the initiative, judgment
  Plaintiff could quickly complete, the more Plaintiff stood          or foresight of the typical independent contractor.”
  to profit.
                                                                      Id. at 1317 (quoting      Rutherford Food Corp. v.
  ... Plaintiff's profit was also a function of the type of         McComb, 331 U.S. 722, 730 (1947)).
  work orders that Defendant assigned him (and the amount
  of charge-backs Plaintiff received). Because the types             *8 As mentioned in Parrilla, Plaintiffs' ability to maximize
  of jobs that Plaintiff performed each paid differently,           their profits was undermined by the fact that Defendant could
  notwithstanding the amount of time it took to complete            impose financial penalties against them in the form of charge
  those jobs, Plaintiff would experience days that were             backs. “This is particularly true” here since Dump Cable
  more profitable than others simply as a result of the             sometimes “deduced fees in excess of the value of the jobs
  type of work orders that Defendant assigned to him. For           performed.” Lang v. DirecTV, Inc., 801 F. Supp. 2d 532,
  example, assuming cable modem installations paid more             539 (E.D. La. 2011). The limited ability of the Plaintiffs to
  than television installations, if all the work orders Plaintiff   control their own profits or losses is indicative of economic
  received on a given day were for cable modem installations,       dependence. Accordingly, this factor weighs in favor of a
  Plaintiff would make more on that day, ceteris paribus,           finding that the installers were employees of the Company.
  than if he had been assigned all television installations. Of
  course, if cable modem installations took twice as long as
  television installations, it might be the case that Plaintiff        5. Degree of Defendant's right to control
  could earn the same amount (or more) by just doing                Under the fifth factor, the Court looks at the nature of
  television installations throughout the day. Importantly,         the parties' working relationship to determine whether the
  though, Plaintiff had no control over the types of work           Defendant's degree of control over the “manner or method” of
  orders that he was given ....                                     the putative employee's work performance “tends to indicate
                                                                    that the individual was an employee under the ‘control’
  Furthermore, Plaintiff was not permitted to install cable
  services for other cable installation companies. Nor was          of the employer.”    Bennett, 2013 WL 4804841 at *6. In
  he permitted to provide additional services for Bright            conducting this inquiry, courts have considered “whether
  House customers without first obtaining a new work order          workers may choose how much and when to work, ...
  authorized by both Bright House and Defendant.                    whether they must wear uniforms, and how closely their
                                                                    work is monitored and controlled by the purported employer.”
  No matter how quickly or efficiently Plaintiff worked,
                                                                        Scruggs, 2011 WL 6026152 at *3 (alteration in original)
  Defendant's charge-backs, [and] the manner in which it
                                                                    (citation and internal quotation marks omitted).
  assigned jobs ... obviated Plaintiff's ability to rely upon his
  own managerial skill.




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There is no evidence to suggest in this case that Dump Cable        *9 The final factor concerns “the extent to which the service
monitored Plaintiffs' work performances particularly closely       rendered by the worker is an integral part of the putative
or that it micromanaged the details of how they performed
                                                                   employer's business.”      Schultz, 466 F.3d at 308. It is
their jobs. Even so, other facts point toward a finding that the
                                                                   undisputed that the installation and repair work performed
Company exercised a significant degree of control over the
                                                                   by the Plaintiffs in this case was the core of Defendant's
Plaintiffs. The installers were not free to choose how many
                                                                   business, constituting eighty-five percent of its profits. This
jobs to take on or when to perform them. If an installer wished
                                                                   factor weighs heavily in favor of employee status.
to take a day off from work, he had to submit his request a
considerable time in advance, and there was no guarantee it
would be granted. Plaintiffs were not permitted to hire their         7. Weighing of the factors
own employees to help them complete jobs for the Company.          This Court recognizes that opinions on this subject have gone
Dump Cable prohibited the Plaintiffs, during their tenure,         both ways on the question of whether cable and satellite
from accepting jobs from any other installation companies.         installers are independent contractors or “employees” under
Installers were required to wear Company uniforms and to
                                                                   the FLSA. See       Scruggs, 2011 WL 6026152 at *8 n.9
advertise the Company's logo on their vehicles. If they used
                                                                   (collecting cases). However, on the facts presented by this
nonapproved tools on the job, they were assessed a charge
                                                                   case, where five of the six Donovan factors point toward a
back penalty, which had no relation to any damage that might
                                                                   finding of an employment relationship, the Court concludes
have been caused by their infraction.
                                                                   that, as a matter of law, Plaintiffs were Dump Cable's
                                                                   employees and were therefore protected by the overtime
These circumstances suggest that Plaintiffs were Dump
                                                                   provisions of the FLSA. Accordingly, Plaintiffs' motion for
Cable's employees. Cf.      Cascom, 2011 WL 10501391 at            partial summary judgment is GRANTED on this issue.
*5 (determining that workers “were substantially controlled”
where, inter alia, they could not hire their own helpers
without special approval from the defendant; they were             B. Liability of Ardahji as “Employer”
required to wear shirts with defendant's logo and to place the     Plaintiffs also ask the Court to find that, as a matter of law,
logo on their vehicles; they were deducted back charges for        Ardahji is chargeable with individual liability under the FLSA
errors; and they were required to submit leave requests in         as their “employer.” (Mem. in Supp. of Pls.' Mot. for Summ.
writing); Lang, 801 F. Supp. 2d at 538 (“An arrangement in         J. 12–13, D.E. 52-2.) Ardahji insists, however, that because
which defendants charged plaintiffs more than they earned          he has filed a notice of filing of bankruptcy (D.E. 55 at
for a particular job ... undermine[s] plaintiffs' economic         3), the automatic-stay provisions of the Bankruptcy Code
                                                                   prevent the Court from rendering such a judgment against
independence in a ... serious way.”);       Keeton, 2011 WL
                                                                   him at this time. (Defs.' Mem. in Opp'n to Mot. for Summ.
2618926 at *5–6 (finding the control factor weighed in favor
                                                                   J. 10, D.E. 65-1.) The Court agrees. The matter of Ardahji's
of an employment relationship where plaintiffs had to wait
                                                                   personal liability as the installers' “employer” shall be HELD
for permission to take time off from work; they had no say
                                                                   IN ABEYANCE until such time as the automatic stay has
in defendant's assignment of jobs to them; and they could not
                                                                   been lifted.
reorganize the order of jobs or trade jobs with other installers
without permission from a supervisor);         Parrilla, 2009
WL 2868432, at *2–3 (concluding that defendant “exerted            C. Liquidated Damages
significant control over” plaintiff where it controlled, inter     “An employer who violates the FLSA must pay the affected
alia, his daily work schedule, the type of work he performed,      employee ‘the amount of their unpaid minimum wages, or
and the amount of time he could take off from work). Thus,         their unpaid overtime compensation ... and [ ] an additional
the fifth factor points toward a finding of an employment          equal amount as liquidated damages.’ ”    Boaz v. FedEx
relationship.                                                      Customer Info. Servs., Inc., 725 F.3d 603, 605 (6th Cir.
                                                                   2013)(quoting   29 U.S.C. § 216(b)). These liquidated
  6. Relationship between service rendered and Defendant's         damages serve not as punishment but as compensation.
  business                                                            Martin v. Ind. Mich. Power Co., 381 F.3d 574, 584 (6th
                                                                   Cir. 2004), reh'g en banc denied (Nov. 2, 2004). “Although



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liquidated damages are the norm and have even been referred          demonstrate good faith under the FLSA.”       Reich v. S.
to as ‘mandatory,’ ... Congress has provided the courts with         New England Telecom. Corp., 121 F.3d 58, 71 (2d. Cir.
some discretion to limit or deny liquidated damages.” Id.            1997) (internal quotation marks and citation omitted); see
(internal quotation marks and citations omitted). Where the
                                                                     also Martin v. Cooper Elec. Supply Co., 940 F.2d 896, 910
employer shows that it acted in good faith and that there
                                                                     (3d Cir. 1991)(“good faith cannot be established merely by
were reasonable grounds for believing the classification was
                                                                     conforming with industry standards”), cert. denied, 112 S. Ct.
proper under the FLSA, the Court, in its discretion, may limit
                                                                     1473 (1992);     Cascom, 2011 WL 10501391 at *7 (same).
or deny liquidated damages. Id. (citing        Elwell v. Univ.
Hosps. Home Care Servs., 276 F.3d 832, 840 (6th Cir. 2002)).
                                                                     Finally, the fact that Dump Cable was never audited by
However, “this burden on the employer is substantial.” Id.
                                                                     the government regarding nonpayment of overtime to its
(internal quotation marks, citation, and alteration omitted).
                                                                     installers does not, as Defendant insists, indicate that the
                                                                     Company acted in good faith in failing to comply with the
Plaintiffs insist that they are entitled to liquidated damages
                                                                     FLSA. Again, to meet the good-faith standard, Defendant
because Dump Cable cannot show that it made a good-faith
                                                                     must show that it took some active steps to ascertain its
inquiry into whether its actions violated the FLSA nor that
                                                                     compliance (or not). It cannot merely rely on the inaction
there were objectively reasonable grounds for believing that
                                                                     of the Department of Labor. Because Dump Cable has
the Company was in compliance with the Act. (Mem. in Supp.
                                                                     not put forth evidence demonstrating good faith under the
of Pls.' Mot. for Summ. J. 13–16, D.E. 52-2.) “In order to
                                                                     FLSA, Plaintiffs' motion for partial summary judgment is
demonstrate good faith, ... an employer ‘must show that it
                                                                     GRANTED as against this Defendant on the matter of
took affirmative steps to ascertain the Act's requirements,
                                                                     liquidated damages.
but nonetheless violated its provisions.’ ” Solis v. Min
Fang Yang, 345 Fed.Appx. 35, 39 (6th Cir. 2009)(quoting
   Martin, 381 F.3d at 584). Defendant has not made such a                               IV. CONCLUSION
showing here. Although it contends that Ardahji consulted his
accountant at the outset regarding the installers' classification,   For the reasons set forth herein, the Plaintiffs' motion for
a review of Defendant's deposition testimony reveals that            partial summary judgment is GRANTED IN PART as to the
he independently made the decision to treat the installers as        issues of the installers' status as “employees” under the FLSA
independent contractors before meeting with his accountant           and their entitlement to liquidated damages as against the
and that only upon learning that he had so classified them did       Company. As to the matter of Defendant, Ardahji's personal
she advise him to issue them 1099 forms. (See Ardahji Dep.           liability as an “employer” under the Act, the motion is HELD
92:19–93:7, D.E. 52-3.)                                              IN ABEYANCE IN PART until the automatic bankruptcy stay
                                                                     is lifted.
 *10 As evidence of good faith, Defendant also points
out that “[i]n all of Ardahji's prior experience, installers         IT IS SO ORDERED this 23rd day of June, 2014.
had always received the classification of ‘independent
contractors.’ ” (Defs.' Mem. in Opp'n to Mot. for Summ.
                                                                     All Citations
J. 11, D.E. 65-1.) However, it is well established that
“simple conformity with industry-wide practice fails to              Not Reported in F.Supp.3d, 2014 WL 12526724


Footnotes
1       Unless otherwise indicated, the facts herein are taken from the complaint (D.E. 1), Plaintiffs' Statement of Undisputed
        Material Facts (D.E. 52-1), the Defendants' response thereto (D.E. 65-2), and related exhibits. Defendants have submitted
        their own “Statement of Material Facts” for the Court to consider in deciding this motion. (See D.E. 65-2 at 7–8.) However,
        due to noncompliance with the Local Rules, the Court has disregarded all five paragraphs of the Defendants' statement
        of material facts as well as all or part of paragraphs 10–11, 16, 18, 20, 22, 24, 26–28, 31–32, and 38 of Defendants'
        responses to the Plaintiffs' statement of undisputed material facts. Local Rule 56.1(b), which allows a nonmoving party
        to file a “statement of any additional facts that the non-movant contends are material and as to which the non-movant



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       contends there exists a genuine issue to be tried,” requires that “each ... disputed fact” be accompanied by “citations to
       the record supporting the contention that such fact is in dispute.” L.R. 56.1(b), Local Rules of the U.S. Dist. Ct. for the
       W. Dist. of Tenn. Similarly, the nonmovant's response to the moving party's statement of undisputed material facts, to
       the extent it seeks to demonstrate that any fact is disputed, “must be supported by specific citation to the record.” Id.
       The citations provided in support of Defendants' statement of material facts and those contained within the above-named
       paragraphs of Defendants' response to Plaintiffs' statement of facts all refer to portions of Defendant, Ardahji's deposition
       that have not been submitted to the Court by either party. Because this testimony is not available for the Court's review,
       it cannot be used to support Defendants' contentions.
2      Sharp Electronics Satellite is the name of the business incorporated as Dump Cable, Inc. (Pls.' Stmt. of Material Facts
       ¶¶ 2–3, D.E. 52-1.)


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